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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

ROSE COZZENS,
Plaintiff, Civil Action
v. Case No.:1:14-cv-07150-JEI-JS

WALMART; JOHN DOE(S) I-X
(Fictitious names as persons/entities who
maintained, controlled or managed the
premises known as Walmart), individually,
jointly, severally, or in the alternative.

Defendant(s).

STIPULATION OF DISMISSAL WITH PREJUDICE

The matter in difference in the above-entitled action having been amicably adjusted
by and between the parties, it is hereby stipulated and agreed that the same be and it is

hereby dismissed, without costs against either party, with prejudice.

McDONNELL & ASSOCIATES, P.C, LAW OFFICES OF BORBI, CLANCY, & PATRIZI, LLC
Taisha K. Tolliver, Esq. John Borbi, Esquire
Attorneys for Defendant neys for Plaintiff

Dated: IZ, Slo _ Dated: ___// HY L20lle

     

 

 
